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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM C. TOTH JR., et al.,             :    Civil No. 1:22-CV-00208
                                         :
            Plaintiffs,                  :    Three Judge Panel Convened
                                         :    Pursuant to 28 U.S.C. § 2284(a)
            v.                           :
                                         :
LEIGH M. CHAPMAN, et al.,                :
                                         :
            Defendants.                  :
                                         :
            v.                           :
                                         :
CAROL ANN CARTER, et al.,                :
                                         :
            Intervenor-Defendants.       :

                                     ORDER

BEFORE: Kent A. Jordan, Circuit Judge, United States Court of Appeals for the
Third Circuit; Patty Shwartz, Circuit Judge, United States Court of Appeals for the
Third Circuit; Jennifer P. Wilson, District Judge, United States District Court for
the Middle District of Pennsylvania

      AND NOW, on this 16th day of March, 2022, in accordance with the

accompany memorandum opinion, IT IS ORDERED AS FOLLOWS:

            1) Defendants’ motion to dismiss, Doc. 60, and Intervenor-

                 Defendants’ motion to dismiss, Doc. 58, are GRANTED.




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       2) Claims One and Two of the second amended complaint, Doc. 49,

          are DISMISSED.


                               FOR THE COURT:

                               s/Kent A. Jordan
                               Kent A. Jordan, Circuit Judge
                               United States Court of Appeals
                               for the Third Circuit

                               s/Patty Shwartz
                               Patty Shwartz, Circuit Judge
                               United States Court of Appeals
                               for the Third Circuit

                               s/Jennifer P. Wilson
                               Jennifer P. Wilson, District Judge
                               United States District Court
                               Middle District of Pennsylvania




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